
Smith, J.
In each of the clauses in the county court act, and no other act has ever yet authorized a justice of the peace to issue an attachment, no character is used but creditor and debtor. The creditor may go before a justice, and make oath that his debtor,. &amp;c. This can never be construed to mean that a tortious act shall be converted into a debt. It would appear that the legislature tie--ver intended to intrust this power in the hands of justices of the peace ; for by the second section of the act passed on the 21st March, 1793, to amend the attachment act, they have given power to all the courts of common pleas to issue attachments for torts. And when an act already existed to remedy this evil, we cannot presume it given under the words creditor and debtor. The subject was not a new one ; it had been legislated on. The technical-words were familiar, and it must be a strained construction indeed,before it could be brought from the county court act. I am against the motion. ,
Bay, Grimke, and Colcock, 3s., concurred.
